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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JESSICA GUNTER,

          Plaintiff,

   v.                                                  Case No: 8:20-cv-1546-T-36TGW

   CCRC OPCO- FREEDOM SQUARE, LLC,
   HEALTHPEAK PROPERTIES, INC.,
   BROOKDALE SENIOR LIVING, INC.,
   BKD TWENTY-ONE MANAGEMENT
   COMPANY, INC., AMERICAN
   RETIREMENT CORPORATION, LIFE
   CARE SERVICES LLC and CYNTHIA
   AYALA,

          Defendants.

   _____________________________________

              DEFENDANTS’ ANSWER AND AFFIRAMTIVE DEFENSES
                       TO PLAINTIFF’S COMPLAINT

          Defendants, CCRC OPCO- FREEDOM SQUARE, LLC; HCP, INC. a/k/a HCP

   INC. OF MARYLAND n/k/a HEALTHPEAK PROPERTIES, INC.; BROOKDALE

   SENIOR LIVING, INC; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

   AMERICAN RETIREMENT CORPORATION; LIFE CARE SERVICES LLC; and,

   CYNTHIA AYALA, by and through the undersigned counsel, hereby file their Answer

   and Affirmative Defenses to Plaintiff’s Complaint [Doc. 01] and state as follows:

                                      INTRODUCTION

          Defendants expressly deny the unnumbered allegations addressed in the

   introduction to Plaintiff’s Complaint.
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                   JURISDICTION, PARTIES AND VENUE ALLEGATIONS

             1.     Denied.

             2.     Admitted that Donald Jack was admitted to SEMINOLE PAVILION

   REHABILITATION AND NURSING SERVICES on or about April 2, 2020; otherwise

   denied.

             3.     Admitted based on the representations of Plaintiff.

             4.     Admitted.

             5.     Admitted.

             6.     Admitted.

             7.     Admitted that CCRC OPCO-FREEDOM SQUARE, LLC conducted and

   engaged in business activities within the State of Florida; otherwise denied.

             8.     Denied.

             9.     Denied.

             10.    Admitted.

             11.    Denied.

             12.    Denied.

             13.    Denied.

             14.    Admitted that HCP conducted and engaged in business activities within

   the State of Florida; otherwise denied.

             15.    Denied.

             16.    Admitted.

             17.    Denied.




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             18.    Denied.

             19.    Denied.

             20.    Admitted.

             21.    Denied.

             22.    Admitted that BKD TWENTY-ONE MANAGEMENT COMPANY, INC.

   conducted and engaged in business activities within the State of Florida; otherwise

   denied.

             23.    Denied.

             24.    Admitted.

             25.    Admitted that AMERICAN RETIREMENT CORPORATION conducted

   and engaged in business activities within the State of Florida; otherwise denied.

             26.    Denied.

             27.    Denied.

             28.    Admitted.

             29.    Admitted.

             30.    Admitted that LIFE CARE SERVICES LLC conducted and engaged in

   business activities within the State of Florida; otherwise denied.

             31.    Denied.

             32.    Admitted.

             33.    Admitted that CYNTHIA AYALA conducted and engaged in business

   activities within the State of Florida; otherwise denied.

             34.   Denied.




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                                   FACTUAL ALLEGATIONS

          35.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          36.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          37.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          38.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          39.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          40.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          41.     Denied, including subparts (a) through (c).

          42.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          43.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          44.     These allegations do not pertain to these Defendants. To the extent a

   response is required, denied.

          45.     Denied, including subparts (a) through (f).

          46.     Denied, including subparts (a) through (d).




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         47.   Denied.

         48.   Admitted.

         49.   Denied.

         50.   Denied.

         51.   Denied, including subparts (a) through (p).

         52.   Denied.

         53.   Denied.

         54.   Denied.

         55.   Denied.

         56.   Denied.

         57.   Denied.

         58.   Denied.

         59.   Denied.

         60.   Denied.

         61.   Admitted.

         62.   Denied.

         63.   Denied.

         64.   Denied.

         65.   Denied.

         66.   Denied.

         67.   Denied.

         68.   Denied.




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         69.   Denied.

         70.   Denied.

                           CORPORATE BACKGROUND

         71.   Denied

         72.   Denied.

         73.   Denied.

         74.   Denied.

         75.   Denied.

         76.   Denied.

         77.   Denied.

         78.   Denied.

         79.   Denied.

         80.   Denied.

         81.   Denied.

         82.   Denied.

         83.   Denied.

         84.   Denied.

         85.   Denied.

         86.   Denied.

                   CORPORATE CONDUCT AND JOINT VENTURE

         87.   Denied.

         88.   Denied.




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         89.    Denied.

         90.    Denied.

         91.    Denied.

         92.    Denied.

         93.    Denied.

         94.    Denied.

         95.    Denied.

         96.    Denied.

         97.    Denied.

         98.    Denied.

         99.    Denied.

         100.   Denied.

         101.   Denied.

         102.   Denied.

         103.   Denied.

         104.   Denied.

         105.   Denied.

         106.   Denied.

         107.   Denied.




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                          COUNT I: BREACH OF FIDUCIARY DUTY
                 As to Defendants CCRC OPCO - FREEDOMSQUARE, LLC and
                                   CYNTHIA AYALA

          108.    Defendants re-state and incorporate herein by reference their responses to

   paragraphs 1 through 107 above.

          109.    Denied.

          110.    Denied.

          111.    Denied.

          112.    Denied.

          113.    Denied.

          114.    Denied.

          115.    Denied.

          116.    Denied.

          117.    Denied.

          118.    Denied.

          119.    Denied.

          120.    Denied.

          121.    Denied.

          122.    Denied.

          123.    Denied.

          124.    Denied.

          125.    Denied.

          126.    Denied.




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          127.   Denied.

          128.   Denied.

          129.   Denied.

          130.   Denied, including subparts (a) through (c).

          131.   Denied.

          132.   Denied.

       COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
    As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-
        ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT
                 CORPORATION; and LIFE CARE SERVICES, LLC

          133.   Defendants re-state and incorporate herein by reference their responses to

   paragraphs 1 through 132 above.

          134.   Denied.

          135.   Denied.

          136.   Denied.

          137.   Denied.

          138.   Denied.

          139.   Denied.

          140.   Denied.

          141.   Denied, including subparts (a) through (h).

          142.   Denied.

          143.   Denied.

          144.   Denied.

          145.   Denied.




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            COUNT III: VIOLATIONS OF FLORIDA STATUTES §415.1111
     As to Defendants HCP; BROOKDALE SENIORLIVING, INC.; BKD TWENTY-
         ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT
                  CORPORATION; and LIFE CARE SERVICES, LLC

          146.     Defendants re-state and incorporate herein by reference their responses to

   paragraphs 1 through 3, 9, 10, 12, 15, 16, 19, 20, 23, 24, 26, 28 and 31 above.

          147.     Denied.

          148.     Denied.

          149.     Denied.

          150.     Denied.

          151.     Denied.

          152.     Denied.

          153.     Denied.

          154.     Denied.

          155.     Denied.

               COUNT IV: VIOLATION OF FLORIDA'SDECEPTIVE
            AND UNFAIR TRADE PRACTICES ACT, § 501.201 ET SEQ.
         As to Defendants CCRC OPCO – FREEDOM SQUARE, LLC; HCP;
     BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT
      COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and LIFE
                             CARE SERVICES, LLC

          156.    Defendants re-state and incorporate herein by reference their responses to

   paragraphs 1 through 107 above.

          157.    Denied.

          158.    Section 501.204(1), Florida Statutes, speaks for itself; otherwise denied.

          159.    Denied.




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         160.   Denied.

         161.   Denied.

         162.   Denied.

         163.   Denied.

         164.   Denied.

         165.   Denied.

         166.   Denied.

         167.   Denied.

         168.   Denied.

         169.   Denied.

         170.   Denied.

         171.   Denied.

         172.   Denied.

         173.   Denied.

         174.   Denied.

         175.   Denied.

         176.   Denied.

         177.   Denied.

         178.   Denied.

         179.   Denied.

         180.   Denied.

         181.   Denied.




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           182.    Denied.

           183.    Denied.

           184.    Denied.

                                 AFFIRMATIVE DEFENSES

           1.      Plaintiff’s claims are subject to Federal Immunity pursuant to 42 U.S.C. §

   247d-6d(a)(1) and therefore removable insofar as Plaintiff’s Complaint alleges a Federal

   Question.

           2.      Defendants affirmatively assert that under 42 U.S.C. § 247d-6d(a)(1), they

   are covered persons and therefore immune from suit and liability with respect to all

   claims for loss caused by, arising out of, relating to, or resulting from the administration

   of or the use by Defendants of “covered countermeasures” as defined in 42 U.S.C. §

   247d-6d(i)(7) and 42 U.S.C. § 247d-6b(c)(1).

           3.      Defendants affirmatively assert that Donald Jack was negligent and that

   his negligence was the sole cause or contributed substantially to causing the alleged

   damages. Donald Jack’s negligence is a bar to any claim for damages brought by

   Plaintiff. Alternatively, his negligence should proportionately reduce any recovery by

   Plaintiff in this case.

           4.      Defendants affirmatively assert that they are entitled to a set-off for all

   sums paid, payable, or due to be paid to or on behalf of Plaintiff from any source

   considered to be a collateral source, including, but not limited to, health or accident

   insurance companies, life insurance companies, workers compensation insurance




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   companies, Social Security Administration, or those whose acts or omissions caused or

   contributed to Plaintiff’s damages.

          5.      Defendants affirmatively assert that the injuries and damages alleged by

   Plaintiff are as a result of acts or omissions by other persons, corporations, or

   professional associations or entities other than Defendants, for which Defendants had no

   control, and are not responsible.

          6.      Defendants affirmatively assert that they are entitled to a set-off for any

   past awards, verdicts, settlements, disability ratings, disability payments, Medicare

   payments, Medicaid payments, or any other awarded income pertaining to Plaintiff’s

   claim or for any of the damages asserted within Plaintiff’s Complaint.

          7.      The injuries alleged in the Complaint were caused by conditions outside

   the scope and control of these Defendants, and therefore, Plaintiff cannot recover against

   these Defendants.

          8.      Defendants affirmatively assert that they are entitled to have Plaintiff’s

   damages, if any, apportioned amongst all persons or entities responsible pursuant to

   §768.81, Florida Statutes and the applicable case law found in Messmer v. Teachers

   Insurance Company, 597 So. 2d 10 (Fla. 5th DCA 1991) and Fabre v. Marin, 623 So. 2d

   1182 (Fla. 1993) and subsequent case law interpreting same.

          9.      Defendants affirmatively assert that Sections 400.023 through 400.0238,

   Fla. Stat. provide the exclusive remedy for a cause of action for recovery of damages for

   the personal injury or death of a nursing home resident arising out of negligence or

   violation of resident rights specified in Section 400.022, Fla. Stat.




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          10.     The care and treatment provided by Defendants met standards set forth in

   Chapter 400 of the Florida Statutes, as well as the standards of care prevailing amongst

   similar facilities in this community.

          11.     Defendants affirmatively state that they did not deprive Plaintiff of any of

   his resident’s rights under section 400.022, Fla. Stat., and therefore, Plaintiff cannot

   recover against Defendants.

          12.     The alleged injuries and/or damages complained of by Plaintiff, if any,

   were not foreseeable by these Defendants.

          13.     Defendants’ alleged actions followed full disclosure to and the consent of

   Donald Jack and his personal representative, plenary guardian, or attorney-in-fact.

          14.     While the Defendants completely deny all allegations of negligence and/or

   misconduct contained within Plaintiff’s Complaint, were Plaintiff to demonstrate that the

   resident suffered any injury as a result of a deviation from the applicable standard of care

   and/or resident’s rights violation with regard to the care and treatment the resident

   received at the facility, said negligence and/or violation of resident’s rights may only be

   imputed to the facility licensee, as the facility licensee maintains operational control over

   the day-to-day operations of the facility whereas control, if any, exerted by any of the

   other Defendants would be strictly limited to policy level control, as those terms are

   defined under applicable Florida law. As such, the members, managers and/or managing

   members of the Defendant Limited Liability Companies are limited and/or shielded

   completely from liability pursuant to Section 605.04093(1), Florida Statutes.




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          15.     Plaintiff’s Complaint and claims fail to state a claim upon which relief

   may be granted for the total lack of any scientific or medical evidence linking the

   transmittal method of COVID- 19 to the presence or absence of any preventive measures

   such that the alleged negligence and alleged injuries sustained were preventable by

   Defendants.

          16.     These Defendants are not liable to Plaintiff as any injury or damage that

   Donald Jack may have experienced was solely and proximately the result of causes other

   than the acts or failure to act of these Defendants, including but not limited to an

   intervening, superseding cause for which this Defendants are in no way liable. Plaintiff is

   therefore not entitled to recover from Defendants in this action.

          17.     Defendants specifically deny that they were negligent in any manner and

   specifically deny that Defendants put either Plaintiff or other residents of Seminole

   Pavilion in danger of contracting COVID-19.

          18.     Plaintiff’s claims are barred because any alleged conduct on the part of

   Defendants was made in good faith and as part of Defendants’ efforts to comply with its

   obligations, if any, under the law in preventing the spread of COVID-19.

          19.     Defendants reserve the right to add affirmative defenses upon the

   discovery of additional facts.



          Respectfully submitted this 15th day of July, 2020.




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                                      QUINTAIROS,    PRIETO,   WOOD     &
                                      BOYER, P.A.

                                      /s/ Robin N. Khanal _______
                                      ROBIN N. KHANAL, ESQUIRE
                                      Florida Bar No.: 0571032
                                      CHRISTOPHER E. BROWN, ESQUIRE
                                      Florida Bar No.: 0071568
                                      255 S. Orange Avenue, Suite 900
                                      Orlando, Florida 32801
                                      Tel: (407) 872-6011
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                                      RNK.pleadings@qpwblaw.com
                                      Attorneys for Defendants




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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   JESSICA GUNTER,

          Plaintiff,

   v.                                                Case No: 8:20-cv-1546-T-36TGW

   CCRC OPCO- FREEDOM SQUARE, LLC,
   HEALTHPEAK PROPERTIES, INC.,
   BROOKDALE SENIOR LIVING, INC.,
   BKD TWENTY-ONE MANAGEMENT
   COMPANY, INC., AMERICAN
   RETIREMENT CORPORATION, LIFE
   CARE SERVICES LLC and CYNTHIA
   AYALA,

          Defendants.

   _____________________________________

                               CERTIFICATE OF SERVICE

          I hereby certify that I have this day served a copy of the within and foregoing

   DEFENDANTS’ ANSWER AND AFFIRAMTIVE DEFENSES TO PLAINTIFF’S

   COMPLAINT with the Clerk of Court using the CM/ECF system, which will

   automatically send email notification of such filing to the following parties of record

   below and by depositing a true copy of the same in the U.S. Mail, with adequate postage

   affixed thereon, addressed as follows:

                                      Bennie Lazzara, Jr.
                                     James L. Wilkes, II
                                       Jason R. Delgado
                                   Wilkes & McHugh, P.A.
                             1 N. Dale Mabry Highway, Suite 700
                                    Tampa, Florida 33609




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         Respectfully submitted this 15th day of July, 2020.


                                              QUINTAIROS,      PRIETO,   WOOD   &
                                              BOYER, P.A.

                                              /s/ Robin N. Khanal __________
                                              ROBIN N. KHANAL, ESQUIRE
                                              Florida Bar No.: 0571032
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